                    Case 1:20-cv-06125-LJL Document 19 Filed 11/09/20 Page 1 of 1

                         Michael Faillace & Associates, P.C.
                                              Employment and Litigation Attorneys

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       _________

                                                                                      November 4, 2020
       BY ECF

       Honorable Lewis J. Liman
       Daniel Patrick Moynihan
       United States Courthouse
       500 Pearl St.
       New York, NY 10007-1312

                        Re:
                                Moreno Estrada et al v. Therapy PLLC et al
                                1:20-cv-06125-LJL
       Dear Judge Liman:

               We represent Plaintiff in the above-referenced matter. We write to respectfully request the

       initial conference, currently scheduled for November 11, 2020, be adjourned sine die. This is the

       first request of its kind. Defendants have neither answered nor appeared and are in default. Plaintiff

       will be requesting default certificates soon and will respectfully move for a default judgment

       thereafter

               We thank the Court for its attention to this matter.


                                                                     Respectfully Submitted,

                                                                     ____/s/ Daniel Tannenbaum
The initial pretrial conference is ADJOURNED to                      Michael Faillace & Associates, P.C.
December 23, 2020 at 10:00 a.m. It will be cancelled                 Attorneys for Plaintiff
if Plaintiff files a motion for default judgment.

SO ORDERED. 11/9/2020.




                                 Certified as a minority-owned business in the State of New York
